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                                                                                  Sigrid S. McCawley
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                                       December 2, 2020



VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell,
               Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Plaintiff writes with respect to Defendant’s Reply Memorandum of Law in Support of
Objections to Unsealing Materials Related to Docket Entries 231, 279, 315, 320, and 335 filed last
night (ECF No. 1166) and her proposed redactions to Defendant’s July 2016 deposition transcript
filed as an exhibit. ECF No. 1167-1. For the avoidance of any doubt, Defendant submitted her
proposed redactions on her own, and Plaintiff was not consulted about the redactions nor does she
agree with the redactions.

                                             Sincerely,

                                             /s/ Sigrid S. McCawley
                                             Sigrid S. McCawley, Esq.


       cc: Counsel of Record (via ECF)
